Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04 FILED
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Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 2 of 7
Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 3 of 7
Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 4 of 7
Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 5 of 7
Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 6 of 7
Case 17-10696-TPA   Doc 40   Filed 01/03/18 Entered 01/03/18 11:38:04   Desc Main
                             Document     Page 7 of 7
